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                              UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF DELAWARE

                                                                    )
In re                                                               )   Chapter 11
                                                                    )
ENERGY FUTURE HOLDINGS CORP., et al.,1                              )   Case No. 14-10979 (CSS)
                                                                    )
                                    Debtors.                        )   Jointly Administered
                                                                    )

           ORDER GRANTING MOTION OF THE OFFICIAL COMMITTEE OF
          UNSECURED CREDITORS FOR AN ORDER REGARDING CREDITOR
          ACCESS TO INFORMATION AND SETTING AND FIXING CREDITOR
          INFORMATION SHARING PROCEDURES AND PROTOCOLS UNDER
                     11 U.S.C. §§ 105(a), 107(b), AND 1102(b)(3)(A)

         Upon the motion (the “Motion”)2 of the Official Committee of Unsecured Creditors (the

“TCEH Committee”) of Energy Future Competitive Holdings Company LLC (“EFCH”),

EFCH’s direct subsidiary, Texas Competitive Electric Holdings Company LLC (“TCEH”) and

their direct and indirect subsidiaries, and EFH Corporate Services Company (collectively with

EFCH and TCEH, the “TCEH Debtors”), pursuant to Bankruptcy Code sections 105(a), 107(b)

and 1102, as supplemented by Bankruptcy Rule 9018, for entry of an order providing that the

TCEH Committee shall not be required under section 1102(b)(3)(A) of the Bankruptcy Code to

provide the unsecured creditors it represents access to confidential and other nonpublic

proprietary information or privileged information, except as set forth in the Protocol in paragraph

four herein; and upon the joinder (the “Joinder”) to the Motion filed by the official committee of

unsecured creditors (the “EFH Committee”, together with the TCEH Committee, the

“Committees”, and each a “Committee”) of Energy Future Holdings Corp. (“EFH”), Energy
1
  The last four digits of Energy Future Holdings Corp.’s tax identification number are 8810. The location of the
debtors’ service address is 1601 Bryan Street, Dallas, Texas 75201. Due to the large number of debtors in these
chapter 11 cases, for which joint administration has been granted on a final basis, a complete list of the debtors and
the last four digits of their federal tax identification numbers is not provided herein. A complete list of such
information may be obtained on the website of the debtors’ claims and noticing agent at
http://www.efhcaseinfo.com.
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  Capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the Motion.


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Future Intermediate Holding Company, LLC (“EFIH”), EFIH Finance, Inc. (“EFIH Finance”),

and EECI, Inc. (collectively with EFH, EFIH, and EFIH Finance, the “EFH Debtors”, and

together with the TCEH Debtors and the remaining consolidated above-captioned debtors, the

“Debtors”); and the Court having jurisdiction to consider the Motion and the relief requested

therein pursuant to 28 U.S.C. § 1334; and consideration of the Motion and the requested relief

being a core proceeding the Court can determine pursuant to 28 U.S.C. § 157(b); and venue

being proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409; and due and proper

notice of the Motion and the Joinder having been served, and it appearing that no other or further

notice need be provided; and the Court having reviewed the Motion and the Joinder; and the

Court having determined that the legal and factual bases set forth in the Motion as modified

herein establish just cause for the relief granted herein; and upon all of the proceedings had

before the Court and after due deliberation and sufficient cause appearing therefor, it is hereby

ORDERED that:

   1. The Motion is granted as provided for herein.

   2. Notwithstanding anything contained in Bankruptcy Code section 1102(b)(3)(A) to the

       contrary, (a) neither Committee shall be required to disseminate any Confidential

       Information or Privileged Information to any unsecured creditor such Committee

       represents, other than as provided in the Protocol, and (b) each Committee shall be

       deemed to be in compliance with its obligations under Bankruptcy Code section

       1102(b)(3)(A).

   3. In accordance with section 1102(b)(3)(A) and (B) of the Bankruptcy Code, the

       Committees are authorized to, until the earliest to occur of (a) (i) dissolution of such

       Committee, (ii) dismissal, or (iii) conversion of the TCEH Debtors’, EFH Debtors’, or the



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       Debtors’ chapter 11 cases, as applicable, (b) and a further order of the Court, establish

       and maintain either a joint or separate internet-accessed websites (the “Committee

       Website”, and if two such websites are established, each a “Committee Website”), that

       provides, without limitation:

             a. general information concerning the Debtors, including, case
                docket, access to docket filings, and general information
                concerning significant parties in the cases;

             b. a calendar with upcoming significant events in the cases;

             c. access to the claims docket as and when established by the Debtors
                or any claim agent retained in the case;

             d. a general overview of the chapter 11 process;

             e. press releases (if any) issued by each of the Committees and the
                Debtors;

             f. a non-public form to submit creditor questions, comments and
                requests for access to information;

             g. responses to creditor questions, comments and requests for access
                to information; provided, that each Committee may privately
                provide such responses in the exercise of its reasonable discretion,
                subject to the Protocol;

             h. answers to frequently asked questions; and

             i. links to other relevant websites.

   4. The following Protocol is approved for the dissemination of information to any entity (all

       references to “entity” herein shall be as defined in Bankruptcy Code section 101(15),

       “Entity”) that either of the Committees represents:

       A.       Confidential and Privileged Information:

                1.     Neither Committee shall be required to disseminate to any Entity that it
                represents, without further order of the Court:


                        a)     confidential, or other non-public proprietary information
                        concerning the Debtors or such Committee, including (without limitation)

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                      all matters discussed at Committee meetings (whether or not memorialized
                      in any minutes thereof), any information or material (whether written,
                      electronic or oral) distributed to a member of such Committee or its
                      representatives and any information or material (including any notes,
                      analysis, compilations studies, interpretations, memoranda or other
                      documents and writings prepared by such Committee or its professionals)
                      that contains information received from the Debtors or their
                      representatives, in each instance, that is not generally available to the
                      public (collectively, the “Confidential Information”); or

                      b)      any other information if the effect of such disclosure would
                      constitute a general or subject matter waiver of the attorney-client, work
                      product, or other applicable privilege possessed by such Committee
                      (collectively, the “Privileged Information”).
               2.      Notwithstanding anything herein to the contrary, any information (the
               “Discovery Information”) received (formally or informally) by either Committee
               from any Entity in connection with an examination pursuant to Rule 2004 of the
               Federal Rules of Bankruptcy Procedure or in connection with discovery in any
               contested matter, adversary proceeding or other litigation, including, but not
               limited to, the Confidentiality Agreement and Stipulated Protective Order [Docket
               No. 1833] and the Order Establishing Discovery Procedures in Connection with
               Legacy Discovery of Energy Future Holdings Corporation, its Affiliates, and
               Certain Third Parties and Other Related Matters [Docket No. 1832], each entered
               on August 13, 2014, shall not be governed by the terms of this Protocol but,
               rather, by any order governing such discovery or by mutual agreement of the
               Committee receiving such Discovery Information and the Entity producing such
               Discovery Information.

               3.      The Debtors shall make reasonable efforts to assist the Committees in
               identifying any Confidential Information concerning the Debtors that is provided
               by the Debtors or their agents or professionals, or by any third party, to either
               Committee, its agents and professionals. Any documents, information or other
               materials designated by the Debtors as confidential shall be treated as
               Confidential Information for purposes of this Protocol, subject to any rights
               parties may have in this Order.

       B.      Creditor Information Requests:

               1.     If a creditor that either Committee represents (the “Requesting
               Creditor”) submits a written request (the “Information Request”) to the
               Committee that represents the Requesting Creditor (in such case, the
               “Responsible Committee”), for the Responsible Committee to provide
               information, the Responsible Committee shall


                      a)      as soon as practicable, but no more than twenty (20) days after

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                     receipt of the Information Request, provide a response to the Information
                     Request (the “Response”), including providing access to the information
                     requested or the reasons the Information Request cannot be complied with;
                     and

                     b)      if the Response is to deny the Request because the Responsible
                     Committee believes the Information Request implicates Confidential
                     Information or Privileged Information that need not be disclosed pursuant
                     to the terms of this Protocol or otherwise under 11 U.S.C.
                     § 1102(b)(3)(A), or that the Information Request is unduly burdensome,
                     the Responsible Committee shall notify the Debtors or any third-party
                     Entity, as applicable, of that determination to the extent the request
                     implicates such party’s information. The Requesting Creditor may, after a
                     good faith effort to meet and confer with an authorized representative of
                     the Responsible Committee (and an authorized representative of the
                     Debtors or the third-party Entity, as applicable) regarding the Information
                     Request and the Response, seek to compel such disclosure for cause
                     pursuant to a motion and hearing. Such motion shall be served and the
                     hearing on such motion shall be noticed and scheduled for the next
                     available omnibus hearing at least 14 days from the date of the motion, or
                     such other date as the Court is available, unless the Court grants otherwise.
                     Nothing herein shall be deemed to preclude the Requesting Creditor from
                     requesting that the Court conduct an in camera review of any information
                     specifically responsive to the Requesting Creditor’s request that the
                     Responsible Committee claims is Confidential Information or Privileged
                     Information. If the Response is to provide Confidential Information, the
                     Responsible Committee shall only provide such information in accordance
                     with section 4(C) hereof.

                     c)       In its Response to an Information Request for access to
                     Confidential Information or Privileged Information, the Responsible
                     Committee shall consider, (if the Information Request seeks the Debtors’
                     Confidential Information, together with the Debtors,) whether (A) the
                     Requesting Creditor is willing to agree to reasonable confidentiality and
                     trading restrictions with respect to such Confidential Information and
                     represents that such trading restrictions and any information-screening
                     process complies with applicable securities laws; and (B) under the
                     particular facts, such agreement and any information-screening process
                     that it implements will reasonably protect the confidentiality of such
                     Confidential Information; provided, however, that if the Responsible
                     Committee, and, as applicable, the Debtors, elect(s) to provide access to
                     Confidential Information on the basis of such confidentiality and trading
                     restrictions, none of the Debtors, the TCEH Committee or the EFH
                     Committee shall have responsibility for the Requesting Creditor’s
                     compliance with, or liability for violation of, applicable securities or other
                     laws. Any disputes with respect to this paragraph shall be resolved as


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                      provided in the preceding paragraph, and, to the extent applicable, the next
                      paragraph.


       C.      Release of Confidential Information of Third Parties:

               1.      If the Information Request implicates Confidential Information of the
               Debtors (or any third-party Entity) and the Responsible Committee agrees that
               such request should be satisfied, or if the Responsible Committee on its own
               wishes to provide such Confidential Information to creditors, the Responsible
               Committee may make a request (the “Committee Information Request”) for the
               benefit of the Debtors’ creditors:


                      a)      if the Confidential Information is information of the Debtors, by
                      submitting a written request, each captioned as a “Committee Information
                      Request,” to counsel to the Debtors at (a) Kirkland & Ellis LLP, 601
                      Lexington Avenue, New York, NY 10022 (Attn.: Brian E. Schartz &
                      Aparna Yenamandra), Kirkland & Ellis LLP, 300 North LaSalle, Chicago,
                      IL 60654 (Attn: Chad J. Husnick), and Kirkland & Ellis LLP, 555
                      California Street, San Francisco, CA 94104, (Attn: Mark E. McKane,
                      Michael P. Esser, Kevin Chang) (“Debtors’ Counsel”), stating that such
                      Confidential Information will not be provided in the manner described in
                      the Committee Information Request without the Debtors’ prior consent
                      (which shall be provided or denied no later than seven (7) business days
                      from receiving the Committee Information Request); and, if the Debtors’
                      deny such Committee Information Request, the Debtors shall engage in
                      good faith discussions with the Responsible Committee and the
                      Requesting Creditor regarding the denial. The Requesting Creditor and/or
                      the Responsible Committee may file a motion with the Court seeking a
                      ruling with respect to the Committee Information Request under 11 U.S.C.
                      §§ 704(a)(7) & 1106(a)(1). Such motion shall be noticed and scheduled
                      for the next available omnibus hearing at least 14 days from the date of the
                      motion, or such other date as the Court is available, unless the Court
                      grants otherwise; and

                      b)      if the Information Request implicates information of a third-party
                      Entity, by submitting a written request to such Entity and its counsel of
                      record, within seven (7) business days of the receipt of such Information
                      Request, stating that such information will be provided in the manner
                      described in the Committee Information Request unless such Entity
                      objects to such Committee Information Request on or before seven (7)
                      days after the service of such Committee Information Request; and, after
                      the lodging of such an objection, the Responsible Committee, the
                      Requesting Creditor, such Entity and the Debtors may schedule a hearing
                      with the Court seeking a ruling with respect to the Committee Information


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                      Request. Such motion shall be noticed and scheduled for the next
                      available omnibus hearing at least 14 days from the date of the motion, or
                      such other date as the Court is available, unless the Court grants otherwise.

                      c)     In the event of any objection to the disclosure of Confidential
                      Information pursuant to this paragraph four, no such information shall be
                      provided until such time and to the extent provided in an order by the
                      Court that has become final and non-appealable.


       D.      Confidentiality Agreements:

               1.      Notwithstanding anything contained herein, (a) unless the Court orders
               otherwise with respect to a Committee Information Request, neither Committee
               shall provide any Confidential Information of the Debtors to any third-party
               without the third-party executing an appropriate confidentiality agreement with
               the Debtors in a form and substance satisfactory to the Debtors and (b) the relief
               granted pursuant to this Motion shall be subject in all respects to the
               confidentiality agreements executed by and between the Debtors and each of the
               Committees’ professionals and the bylaws governing the operation of each of the
               Committees.

       E.      No Obligation to Disseminate to Non-Creditor:

               1.      Each Requesting Creditor must include in any Information Request
               information regarding its claim against the Debtors sufficient to satisfy the
               Responsible Committee, in its sole discretion, that such Requesting Creditor holds
               claims of the kind represented by the Responsible Committee. Nothing in this
               Protocol requires either Committee to provide access to information or solicit
               comments from any Entity that has not demonstrated to the satisfaction of the
               Responsible Committee, in its sole discretion, or to the Court, that it holds claims
               of the kind described in Bankruptcy Code section 1102(b)(3).

       F.      Exculpation:

               1.      None of the Debtors, the TCEH Committee, the EFH Committee or any of
               their respective directors, officers, employees, members, attorneys, consultants,
               advisors and agents (acting in such capacity) (collectively, the “Exculpated
               Parties”), shall have or incur any liability to any Entity (including the Debtors
               and their affiliates) for any act taken or omitted to be taken pursuant to the
               procedures set forth herein; provided, however, that the foregoing shall not affect
               the liability of any Exculpated Party protected pursuant to this paragraph that
               otherwise would result from any such act or omission to the extent that such act or
               omission is determined in a final non-appealable order to have constituted a
               breach of fiduciary duty, gross negligence, or willful misconduct, including,
               without limitation, fraud and criminal misconduct, or the breach of any

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               confidentiality agreement or order. Without limiting the foregoing, the
               exculpation provided in this paragraph shall be coextensive with any Exculpated
               Party’s qualified immunity under applicable law.

   5. Confidential Information and Privileged Information shall not be disseminated to any

       Entity that either Committee represents other than as set forth in the Protocol.

   6. The Court shall retain jurisdiction to hear and determine all matters arising from the

       implementation of this Order.



Dated: Wilmington, Delaware
       December ___, 2014
                                                    The Honorable Christopher S. Sontchi
                                                    United States Bankruptcy Judge




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